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 5
                             UNITED STATES DISTRICT COURT
 6                          WESTERN DISTRICT OF WASHINGTON
                                      AT SEATTLE
 7
      ALMOG MEIR JAN,                                   NO.
 8                                         Plaintiff,
      v.                                                COMPLAINT
 9
      PEOPLE MEDIA PROJECT, a Washington
10    Non-Profit Corporation, d/b/a PALESTINE
      CHRONICLE; RAMZY BAROUD; JOHN
11    HARVEY; and DOES 1 through 10,

12                                    Defendants.

13
                                      I.       INTRODUCTION
14
            1.      On October 7, 2023, the terrorist organization Hamas brutally murdered, raped,
15
     kidnapped, and butchered hundreds of Israeli civilians.
16
            2.      Plaintiff Almog Meir Jan is an Israeli citizen who was kidnapped and held
17
     hostage for 246 days. He was rescued from the home of Abdallah Aljamal, a Hamas operative
18
     and spokesperson, in a daring mission by the Israel Defense Forces (“IDF”).
19
            3.      However, Plaintiff’s captor, Hamas Operative Aljamal, was not just a Hamas
20
     operative and spokesperson—he was a “journalist” for Defendant People Media Project d/b/a
21
     Palestine Chronicle (“Palestine Chronicle”), a U.S.-based, tax-exempt news organization.
22
            4.      Under the leadership of Defendants, Ramzy Baroud and John Harvey,
23
     Defendant Palestine Chronicle employed Hamas Operative Aljamal and offered him its U.S.

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 1   platform to write and disseminate Hamas propaganda, ultimately subsidized, through its status

 2   as a tax-exempt charitable organization, by U.S. taxpayers.

 3            5.      Following the Hamas terror attacks of October 7, while Hamas Operative

 4   Aljamal imprisoned Plaintiff, Defendants permitted Hamas Operative Aljamal to use their

 5   platform to whitewash Hamas’s crimes and attract international support for its terrorist cause.

 6            6.      By providing this platform to Hamas Operative Aljamal and compensating

 7   Hamas Operative Aljamal for his propaganda, Defendants aided, abetted, and materially

 8   supported both Hamas Operative Aljamal and Hamas itself in their acts of terrorism, including

 9   kidnapping and holding Plaintiff hostage for 246 days, in violation of international law.

10            7.      Accordingly, Plaintiff Almog Meir Jan brings this Complaint for damages

11   under the Alien Tort Statute, 28 U.S.C. §1350, against Defendants People Media Project d/b/a

12   Palestine Chronicle, Ramzy Baroud, John Harvey, and Does 1 through 10.

13                                              II.      PARTIES

14            8.      Plaintiff Almog Meir Jan is an Israeli citizen who was abducted during Hamas’s

15   October 7, 2023, attack on Israel. He was kept as a Hamas prisoner until the IDF rescued him

16   eight months later from the home of Hamas Operative Aljamal. 1

17            9.      Defendant People Media Project is a 501(c)(3) nonprofit corporation

18   incorporated in the State of Washington with its principal office address at 1503 5th Avenue

19   Southwest, Olympia, Washington, 98502-5247.

20

21

22   1
      According to media reports, Hamas Operative Aljamal was killed during the rescue mission. See Abeer Ayyoub,
     The Hostages Next Door: Inside a Notable Gaza Family’s Dark Secret, WALL ST. J. (June 17, 2024),
23   https://www.wsj.com/world/middle-east/the-hostages-next-door-inside-a-notable-gaza-familys-dark-secret-
     2896f6aa.

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 1              10.      People Media Project operates an English language and U.S.-based news outlet,

 2   under the d/b/a name, Palestine Chronicle, covering events concerning the Middle East and

 3   Palestine.

 4              11.      Defendant Ramzy Baroud is the Editor-in-Chief of the Palestine Chronicle and

 5   a Governor of People Media Project. In those positions, Defendant Baroud is ultimately

 6   responsible for editorial, content, and management decisions of the Palestine Chronicle.

 7   Defendant Baroud is sued in both his individual capacity and his capacity as a Governor of

 8   People Media Project.

 9              12.      Defendant John Harvey is a Governor of People Media Project and its

10   “Principal Officer” in public IRS filings. He is also listed as “Management” on the Palestine

11   Chronicle’s website. 2 In those positions, Defendant Harvey is ultimately responsible for

12   management and financial decisions of the Palestine Chronicle. Defendant Harvey is sued in

13   both his individual capacity and his capacity as a Governor of People Media Project.

14              13.      As of the filing of this Complaint, Plaintiff believes there are likely other

15   individuals or organizations (for profit, non-profit, or otherwise) employed by, or collaborating

16   in conjunction with, the named Defendants who committed similar tortious violations against

17   Plaintiff as the named Defendants. Therefore, Plaintiff sues these individuals and/or

18   organizations under the fictitious names of Doe Defendants 1 through 10. Following

19   investigation and further discovery, Plaintiff will seek leave of this Court to amend this

20   Complaint to allege the true names, identities, and capacities of Does 1 through 10, should this

21   information be properly ascertained.

22

23
     2
         About the Palestine Chronicle, PALESTINE CHRONICLE, https://www.palestinechronicle.com/about/.

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 1                                III.   JURISDICTION AND VENUE

 2            14.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and

 3   1350. This Complaint is brought by a foreign national who was kidnapped and injured because

 4   of torts “committed in violation of the law of nations or of a treaty of the United States.” 28

 5   U.S.C. § 1350.

 6            15.      Venue in this district is proper under 28 U.S.C. § 1391 because the individual

 7   Defendants reside in this district and the corporate Defendant maintains its principal place of

 8   business within this district.

 9                                            IV.     FACTS

10         A. Hamas is a Designated Foreign Terrorist Organization.

11            16.      Founded in 1987, Hamas is a terrorist group committed to destroying the State

12   of Israel and eliminating Jewish people across the globe. Hamas seeks to achieve these

13   objectives through any and all means, including violence and acts of terrorism.

14            17.      The U.S. State Department designated Hamas a Foreign Terrorist Organization

15   in October 1997, which it remains to this day. 3

16            18.      For decades, Hamas has used violence, including bombings, shootings,

17   stabbings, and rocket attacks to advance its stated goals of destroying the State of Israel and

18   the Jewish people. 4

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20

21

22   3
        U.S. Dept. of State, Foreign Terrorist Organizations, STATE.GOV (last visited July 7, 2024),
     https://www.state.gov/foreign-terrorist-organizations/.
23   4
        See generally HAMAS, THE COVENANT OF THE ISLAMIC RESISTANCE MOVEMENT (Aug. 18, 1988),
     https://avalon.law.yale.edu/20th_century/hamas.asp.

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 1            19.      In addition to its violent acts of terrorism, Hamas relies on propaganda to

 2   demonize Israel, glorify the “resistance,” and cast itself and its members as victims of mythical

 3   “settler-colonial” oppressors—Israel and the Jewish people.

 4            20.      Propaganda abroad, particularly in western countries like the United States, is

 5   particularly important to Hamas’s strategy. Indeed, Article 29 of Hamas’s charter makes this

 6   explicit, calling on its supporters to provide Hamas “with strategic depth in all human material

 7   and informative spheres . . . . through the convening of solidarity conferences, the issuing of

 8   explanatory bulletins, favourable articles and booklets, enlightening the masses regarding the

 9   Palestinian issue, clarifying what confronts it and the conspiracies woven around it.” 5 All of

10   this is designed to “mobilize” Hamas’s supporters around the globe “ideologically,

11   educationally, and culturally.” 6

12            21.      According to the Center for Strategic and International Studies, “[p]ropaganda

13   plays a critical role for Hamas as it seeks to shore up its popularity.” 7 This war-by-propaganda

14   strategy “tries to paint Israel as an oppressive occupier whose military operations and policies

15   harm Palestinians, especially innocent civilians, including children.” 8 Hamas then “asks its

16   audiences—fellow Palestinians, the broader Arab and Muslim communities, and the world in

17   general—to witness Israeli aggression and the suffering of the Palestinian people and to

18   condemn Israel and support Hamas accordingly.” 9

19

20

21   5
       Id.
     6
       Id.
22
     7
       Daniel Byman & Emma McCaleb, Understanding Hamas’s and Hezbollah’s Uses of Information Technology,
     CTR. FOR STRATEGIC & INT’L STUDS. (July 31, 2023), https://www.csis.org/analysis/understanding-hamass-and-
     hezbollahs-uses-information-technology.
23   8
       Id.
     9
       Id.

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 1        B. Defendants Have Close Ties to Hamas.

 2           22.      Even though Hamas has been a designated Foreign Terrorist Organization for

 3   more than a quarter century, Defendants maintain close ties to Hamas.

 4           23.      Defendant Baroud, in addition to his roles with the Palestine Chronicle, has

 5   served both as a non-resident scholar at the University of California-Santa Barbara’s Orfalea

 6   Center for Global & International Studies and as a Senior Research Fellow at the Center for

 7   Islam and Global Affairs (“CIGA”).

 8           24.      CIGA hosted a conference in 2021 that included sponsorship from Hamas- and

 9   Muslim Brotherhood-affiliated groups. 10 CIGA is directed by Sami Al-Arian, who has

10   previously been convicted of terrorism-related crimes and deported from the United States. 11

11   Al-Arian’s spouse was present at pro-Palestine protests on Columbia University’s campus on

12   April 25, 2024. 12

13           25.      Moreover, Defendant Baroud’s daughter, Zarefah Baroud—who appears to

14   reside with Defendant Baroud—is the Digital Media Associate for American Muslims for

15   Palestine (“AMP”), a U.S.-based nonprofit that is currently the subject of multiple lawsuits, at

16   least one Congressional investigation, and one state attorney general investigation for allegedly

17   providing material support to terrorist organizations, including Hamas. 13

18
     10
        Lauren Morganbesser, Turkish Uni. to Hold Muslim-Brotherhood, Hamas Affiliated Conference, JERUSALEM
19   POST (June 19, 2021), https://www.jpost.com/middle-east/turkish-uni-to-hold-muslim-brotherhood-hamas-
     affiliated-conference-671344.
     11
        Director’s Message, CTR. FOR ISLAM & GLOBAL AFFAIRS, https://www.izu.edu.tr/en/ciga/about-us/director's-
20   message; Press Release, U.S. Dep’t of Justice, Sami Al-Arian Pleads Guilty to Provide Services to Palestinian
     Islamic Jihad (Apr. 17, 2006), https://www.justice.gov/archive/opa/pr/2006/April/06_crm_221.html.
21   12
        Joe Marino, Tina Moore, & Emily Crane, Wife of Convicted Terrorist Sami Al-Arian Was Hanging Out at
     Columbia Encampment Before Dramatic Raid, N.Y. POST (May 1, 2024), https://nypost.com/2024/05/01/us-
22   news/wife-of-convicted-terrorist-was-at-columbia-encampment-before-raid/.
     13
        See Complaint, Parizer, et al. v. Nat’l Students for Just. in Palestine, et al., 1:24-cv-724 (E.D.V.A. May 1,
     2024); Complaint, Schnaider, et al. v. Am. Muslims for Palestine, et al., 8:24-cv-01067 (M.D. Fla. May 2, 2024);
23   Letter from Rep. James Comer, Chairman, Comm. on Oversight and Accountability, House of Representatives,


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 1           26.      In December 2020, Defendant Baroud participated in a webinar hosted by AMP

 2   in which he espoused familiar Hamas propaganda, including accusing Israel of ethnically

 3   cleansing Palestinians and calling for the defeat of Zionism. 14

 4           27.      Defendant Baroud previously served as the Deputy Managing Editor of Al

 5   Jazeera online, 15 a news outlet controlled by the Qatari government with close ties to Iran’s

 6   Islamic Revolutionary Guard Corps and Hamas. Mr. Baroud has written for Kayhan

 7   International, an outlet funded by Iran’s Supreme Leader. 16 Iran has been designated by the

 8   U.S. State Department as a State Sponsor of Terrorism since 1984. 17

 9           28.      Defendant Harvey likewise has close ties to Hamas. According to news reports,

10   Defendant Harvey organized a campaign in 2007 to establish the Gaza Strip’s Rafah

11   neighborhood—a Hamas stronghold—as Olympia, Washington’s sister city. 18

12

13

14

15   and Rep. Virginia Foxx, Chairwoman, Comm. on Oversight and Accountability, House of Representatives, to
     Osama Abuirshaid, Executive Director, American Muslims for Palestine, at 1 (May 29, 2024), available at
16   https://oversight.house.gov/wp-content/uploads/2024/05/Letter-to-National-SJP-5.29.24.pdf; Letter from Rep.
     James Comer, Chairman, Comm. on Oversight and Accountability, House of Representatives, and Rep. Virginia
     Foxx, Chairwoman, Comm. on Oversight and Accountability, House of Representatives, to Janet Yellen,
17   Secretary, U.S. Dep’t of Treasury, at 1 (May 14, 2024), available at https://oversight.house.gov/wp-
     content/uploads/2024/05/Letter-to-Yellen-051424.pdf; Letter from Rep. James Comer, Chairman, Comm. on
18   Oversight and Accountability, House of Representatives, to Osama Abuirshaid, Executive Director, American
     Muslims       for    Palestine   (June      24,     2024),     available    at   https://oversight.house.gov/wp-
19   content/uploads/2024/06/AMP-Follow-Up-062424.pdf; News Release, Jason Miyares, Attorney General of
     Virginia, Attorney General’s Office Opens Investigation Into American Muslims for Palestine Nonprofit (Oct.
     31, 2023), https://www.oag.state.va.us/media-center/news-releases/2630-october-31-2023-attorney-generals-
20   office-opens-investigation-into-american-muslims-for-palestine-nonprofit.
     14
        American Muslims for Palestine, 6th Education Webinar | Gaza: The Soul of Palestine, YOUTUBE (Dec. 23,
21   2020), https://www.youtube.com/watch?v=R-44Wa9eKUs&t=1052s.
     15
        About Dr. Ramzy Baroud, RAMZYBAROUD.NET, https://ramzybaroud.net/about/.
     16
         Adam Kredo, Iran’s Ties to the ‘Palestine Chronicle’, WASH. FREE BEACON (June 10, 2024),
22   https://freebeacon.com/national-security/irans-ties-to-the-palestine-chronicle/.
     17
          U.S. Dep’t of State, Country Reports on Terrorism 2020: Iran (last visited July 7, 2024),
23   https://www.state.gov/reports/country-reports-on-terrorism-2020/iran/.
     18
        Kredo, supra note 16.

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 1           29.      As the Editor-in-Chief, manager, and Governors of the Palestine Chronicle,

 2   Defendant Baroud and Defendant Harvey aligned the Palestine Chronicle’s mission and

 3   content with Hamas.

 4        C. Defendants Support Hamas by Employing Hamas Operatives and Publishing Hamas
             Propaganda in the United States.
 5
             30.      Defendants knowingly and willfully procured and disseminated Hamas
 6
     propaganda to the Palestine Chronicle’s readers in the United States.
 7
             31.      According to news reports, at least six Palestine Chronicle writers and
 8
     contributors have been affiliated with Iranian propaganda outlets. 19 As discussed above, Iran
 9
     is a designated state sponsor of terrorism with known ties to Hamas.
10
             32.      In May 2019, the Palestine Chronicle began publishing articles written by Gaza-
11
     based Hamas operative and terrorist née “journalist”, Abdallah Aljamal. 20
12
             33.      However, in addition to his position as a “journalist,” Hamas Operative Aljamal
13
     also served as an official spokesperson for Hamas’s Ministry of Labor. 21
14
             34.      Hamas Operative Aljamal’s position with Hamas was not a secret. He publicly
15
     appeared in Arab media as a spokesperson for the Hamas-run Ministry of Labor. Exhibit A.
16
             35.      Moreover, Defendant Baroud and Hamas Operative Aljamal knew each other
17
     prior to Hamas Operative Aljamal’s relationship with the Palestine Chronicle. In January 2019,
18
     Defendant Baroud and Hamas Operative Aljamal collaborated on an anti-Israel propaganda
19

20

21
     19
        Kredo, supra note 16.
22
     20
        See Writer: Abdallah Aljamal – Gaza, PALESTINE CHRONICLE (last visited July 7, 2024),
     https://www.palestinechronicle.com/writers/abdallah-aljamal/page/4/.
     21
        Isabel Vincent, Gaza Reporter Who Harbored Israeli Hostages at His Home Wrote for US-Based The
23   Palestine Chronicle, N.Y. POST (June 17, 2024), https://nypost.com/2024/06/17/world-news/gaza-reporter-
     abdallah-aljamal-worked-for-us-non-profit/.

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 1   piece published in the Qatari-government funded Al Jazeera. 22 Defendant Baroud and Hamas

 2   Operative Aljamal are even from the same town in Gaza. 23

 3           36.      Accordingly, Defendants knew or should have known that Hamas Operative

 4   Aljamal was an operative and official spokesperson for Hamas.

 5           37.      Nevertheless, Defendants provided Hamas Operative Aljamal with support and

 6   a U.S.-based platform to publish Hamas propaganda under the guise of independent journalism

 7   and compensated Hamas Operative Aljamal for his contributions.

 8        D. On October 7, 2023, Hamas Perpetrates the Deadliest Attack on Israel and Jews
             Since the Holocaust.
 9
             38.      On October 7, 2023, Hamas led a terrorist attack in southern Israel that killed
10
     over 1,200 Israelis, took over 200 hostages, and injured over 6,900 people. 24
11
             39.      The attack began with a barrage of over 2,200 rockets directed at Israeli civilian
12
     centers. During the rocket attack, armed Hamas terrorists used motorcycles, cars, trucks, and
13
     even paragliders to storm into Israel from the Gaza strip. 25
14
             40.      Hamas terrorists marched from town to town, house to house, and car to car,
15
     slaughtering, raping, and brutalizing innocent Israeli civilians at random. Entire families,
16
     including women, children, infants, and the elderly could not escape the slaughter.
17

18

19   22
        Ramzy Baroud & Abdallah Aljamal, Tales of Torture from Israel’s Prisons, AL JAZEERA (Jan. 22, 2019),
     https://www.aljazeera.com/opinions/2019/1/22/tales-of-torture-from-israels-prisons.
     23
        See Zarefah Baroud, Two Months in the Home Israel Has Denied Me, AL JAZEERA (Nov. 23, 2022),
20   https://www.aljazeera.com/opinions/2022/11/23/two-months-in-the-home-israel-has-denied-me (explaining that
     Defendant Baroud grew up in Nuseirat, the same town where Hamas Operative Aljamal held Plaintiff hostage in
21   his home).
     24
          Israel Revises Hamas Attack Death Toll to ‘Around 1,200,’ REUTERS (Nov. 10, 2023),
22   https://www.reuters.com/world/middle-east/israel-revises-death-toll-oct-7-hamas-attack-around-1200-2023-11-
     10/.
     25
        Ibrahim Dahma et al., Netanyaho Says Israel Is ‘At War’ After Hamas Launches Surprise Air and Ground
23   Attack From Gaza, CNN (Oct. 7, 2023), https://www.cnn.com/2023/10/07/middleeast/sirens-israel-rocket-attack-
     gaza-intl-hnk/index.html.

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 1           41.      Hamas also targeted a local music festival, the Nova Music Festival, where

 2   thousands of young Israeli civilians were gathered to celebrate peace. The terrorists

 3   indiscriminately fired into the crowd, gunning down as many as 260 young civilians. 26 Many

 4   victims were shot in the back as they ran from their attackers.

 5           42.      Those Israelis Hamas did not murder, they took hostage. Terrorists abducted

 6   more than 240 civilians and soldiers, imprisoning them in various locations throughout the

 7   Gaza Strip. Many hostages remain in captivity today, more than nine months since they were

 8   violently ripped away from their families and homes. 27

 9           43.      Hamas’s brutality did not stop there. During its attacks, Hamas terrorists raped,

10   mutilated, and brutally beat Israeli women. According to the Association of Rape Crisis

11   Centers in Israel, “rape was conducted in front of an audience, such as partners, family, or

12   friends, to increase the pain and humiliation for all present.” 28 Independent news organizations,

13   like The New York Times and BBC, have verified, through tapes and first-hand accounts, that

14   Hamas committed these heinous acts of sexual and other violence. 29 The U.N. Special

15   Representative on Sexual Violence in Conflict likewise confirmed that “there are reasonable

16   grounds to believe that conflict-related sexual violence occurred during the 7 October attacks

17   in multiple locations across Gaza periphery, including rape and gang rape, in at least three

18   locations.” 30

19
     26
        David Browne, Nancy Dillon, & Kory Grow, ‘They Wanted to Dance in Peace. And They Got Slaughtered,’
     ROLLING STONE (Oct. 15, 2023), https://www.rollingstone.com/music/music-features/hamas-israel-nova-music-
20   festival-massacre-1234854306/.
     27
         What Is Known About Israeli Hostages Taken by Hamas, AM. JEWISH COMM. (Feb. 26, 2024),
21   https://www.ajc.org/news/what-is-known-about-israeli-hostages-taken-by-hamas.
     28
        David Gritten, Israeli Report Says Hamas Sexual Violence ‘Systematic and Intentional’, BBC (Feb. 21, 2024),
22   https://www.bbc.com/news/world-middle-east-68365284.
     29
        Id.
     30
         U.N. OFFICE OF THE SPECIAL REPRESENTATIVE OF THE SECRETARY-GENERAL ON SEXUAL VIOLENCE IN
23   CONFLICT, Mission Report: Official Visit of the Office of the SRSG-SVC to Israel and the Occupied West Bank,


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 1           44.      Hamas’s October 7 attack is the third-deadliest terrorist attack since 1970. 31 In

 2   terms of fatalities per capita, October 7 is far above the deadliest terrorist attack since 1970,

 3   with 1.19 fatalities per capita compared to 0.46 for the second deadliest. 32 October 7 is by far

 4   the deadliest terrorist attack in Israeli history, with 1,200 fatalities compared to just 38 for the

 5   second deadliest. 33

 6           45.      Moreover, October 7 was “the deadliest day for the Jewish people since the

 7   Holocaust.” 34

 8       E. Plaintiff is Kidnapped, Taken to Gaza, and Abused for Eight Months by Hamas
            Operative and Palestine Chronicle “Journalist” Abdallah Aljamal.
 9
             46.      Plaintiff was one of the Israelis kidnapped by Hamas terrorists from the Nova
10
     Music Festival on October 7.
11
             47.      For an excruciating 246 days, Hamas held Plaintiff hostage in the Gaza Strip.
12
             48.      Plaintiff ultimately wound up a prisoner of Hamas Operative and Palestine
13
     Chronicle “journalist” Aljamal, who, along with his family, abused and mistreated Plaintiff
14
     while holding Plaintiff as a hostage in their home in Nuseirat.
15
         F. Defendants Continually Publish Propaganda from Hamas Operative Aljamal.
16
             49.      After October 7, Hamas operative Aljamal’s propaganda in the Palestine
17
     Chronicle increased exponentially, often publishing two to three pieces per day, even as Hamas
18

19   29      January      –     14      February      2024      ¶       12 (Mar.   4,    2024),    available      at
     https://www.un.org/sexualviolenceinconflict/wp-content/uploads/2024/03/report/mission-report-official-visit-
     of-the-office-of-the-srsg-svc-to-israel-and-the-occupied-west-bank-29-january-14-february-2024/20240304-
20   Israel-oWB-CRSV-report.pdf.
     31
        Daniel Byman et al., Hamas’s October 7 Attack: Visualizing the Data, CTR. FOR STRATEGIC & INT’L STUDS.
21   (Dec. 19, 2023), https://www.csis.org/analysis/hamass-october-7-attack-visualizing-data.
     32
        Id.
22
     33
        Id.
     34
        Press Release, The White House, Remarks by President Biden on the October 7th Terrorist Attacks and the
     Resilience of the State of Israel and its People (Oct. 18, 2023), https://www.whitehouse.gov/briefing-
23   room/speeches-remarks/2023/10/18/remarks-by-president-biden-on-the-october-7th-terrorist-attacks-and-the-
     resilience-of-the-state-of-israel-and-its-people-tel-aviv-israel/.

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 1   operative Aljamal held Plaintiff and others hostage in violation of international law. 35 After

 2   all, there was now a war being fought, and propaganda and misinformation were more valuable

 3   than ever.

 4           50.      Hamas Operative Aljamal’s publications follow Hamas’s well-known “war-by-

 5   propaganda” strategy by attempting to exploit the international community’s response to

 6   civilian casualties and blaming Israel for its reasonable response to Hamas’s atrocities on

 7   October 7.

 8           51.      For example, on October 23, 2023, Defendants published a propaganda piece

 9   by Hamas Operative Aljamal calling October 7 a “daring attack” and accusing Israel of starting

10   a “war on the Gaza population” in order “to forcefully displace Palestinians from their

11   homeland.” 36

12           52.      Other pieces highlighted Palestinians killed or injured in Israel’s targeted

13   responses to Hamas’s attack, including a local clown (not a euphemism) who was injured in a

14   carefully targeted airstrike. 37

15           53.      Hamas Operative Aljamal also spread Hamas’s falsehoods regarding the war in

16   Gaza. For example, when Hamas falsely claimed that it captured Israeli soldiers in Jabaliya,

17   Hamas Operative Aljamal wrote an article repeating that false claim on Defendants’

18

19

20

21   35
        See PALESTINE CHRONICLE, supra note 20.
     36
        Abdallah Aljamal, ‘We Will Never Leave Gaza’: Palestinians in the Devastated Strip are More Rooted than
22   Ever, PALESTINE CHRONICLE (Oct. 23, 2023), https://www.palestinechronicle.com/we-will-never-leave-gaza-
     palestinians-in-the-devastated-strip-are-more-rooted-than-ever/.
     37
        Abdallah Aljamal, Assassinating Joy: Nuseirat’s Beloved Clown in Critical Condition, Wife and Daughter
23   Killed, PALESTINE CHRONICLE (Oct. 26, 2023), https://www.palestinechronicle.com/assassinating-joy-nuseirats-
     beloved-clown-in-critical-condition-wife-and-daughter-killed/.

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 1   platform. 38 However, there is no evidence to support Hamas’s claim, and the IDF has forcefully

 2   denied, that Hamas abducted any Israeli soldiers in that instance. 39

 3            54.      Hamas Operative Aljamal even eulogized known Hamas terrorists. In an article

 4   published the day before Plaintiff was rescued from his home, Hamas Operative Aljamal

 5   accused Israel of assassinating Iyad Maghari, the mayor of Nuseirat. 40 According to one Gazan

 6   he interviewed, “Maghari was one of the best mayors we have had in years,” and was “highly

 7   competent.” 41 Hamas Operative Aljamal’s propaganda piece painted Maghari as a hero and

 8   martyr. However, Hamas Operative Aljamal failed to mention that, according to the IDF,

 9   Maghari was a terrorist “with an extensive history in Hamas.” 42

10            55.      Additionally, Hamas Operative Aljamal was instrumental in spreading

11   misinformation about an Israeli airstrike that targeted a school run by the United Nations Relief

12   and Works Agency (“UNRWA”). The strike was a precision strike targeting only three

13   classrooms where around 30 Hamas terrorists attempted to hide from the consequences of their

14   crimes. The strike did not target parts of the school where civilians were located, and the

15   operation was postponed twice to avoid civilian casualties. 43 Nevertheless, Hamas Operative

16
     38
        Abdallah Aljamal, ‘Resistance Our Only Option’ – Palestinians React to News of Israeli Soldiers Captured in
17   Jabaliya, PALESTINIAN CHRONICLE (May 27, 2024), https://www.palestinechronicle.com/resistance-our-only-
     option-palestinians-react-to-news-of-israeli-soldiers-captured-in-jabaliya/.
     39
        Nidal Al-Mughrabi, Hamas Says it Captured Israeli Soldiers in Gaza; Israel Denies, REUTERS (May 25, 2024),
18   https://www.reuters.com/world/middle-east/hamas-armed-wing-says-fighters-captured-israeli-soldiers-gaza-
     fighting-israeli-2024-05-25/.
19   40
        Abdallah Aljamal, Killing the Mayor of Nuseirat – Why Israel Assassinated Dr. Iyad Maghari, PALESTINE
     CHRONICLE (June 7, 2024), https://www.palestinechronicle.com/killing-the-mayor-of-nuseirat-why-israel-
     assassinated-dr-iyad-maghari/.
20   41
        Id.
     42
        Emanuel Fabian, IDF: Senior Member of Hamas’s General Security Forces in Rafah Killed in Airstrike, TIMES
21   OF ISRAEL (June 7, 2024, 9:10 P.M.), https://www.timesofisrael.com/liveblog_entry/idf-senior-member-of-
     hamass-general-security-forces-in-rafah-killed-in-airstrike/.
22
     43
        It is important to note that the placement of military forces in schools itself violates internationally recognized
     laws of armed conflict. See GLOBAL COALITION TO PROTECT EDUCATION FROM ATTACK, Guidelines for
     Protecting Schools and Universities from Military Use During Armed Conflict (Dec. 2014) (endorsed by 120
23   states),                     available                     at                     https://protectingeducation.org/wp-
     content/uploads/documents/documents_guidelines_en.pdf.

      COMPLAINT - 13
                Case 2:24-cv-01005 Document 1 Filed 07/09/24 Page 14 of 38




 1   Aljamal called the attack a “gruesome massacre” and accused Israel of “targeting displaced

 2   civilians.” 44

 3           56.      For the more than eight months Hamas held Plaintiff hostage and during the

 4   time Hamas Operative Aljamal imprisoned Plaintiff in his home, Defendants permitted Hamas

 5   Operative Aljamal to use their platform—and paid him to do so—to whitewash Hamas’s

 6   crimes and attract international support for its terrorist cause.

 7           57.      Most disturbingly, because of the Palestine Chronicle’s tax-exempt status,

 8   Hamas Operative Aljamal’s propaganda, as well as his hostage-taking, was actually subsidized

 9   by U.S. taxpayers.

10        G. Plaintiff is Rescued, and Defendants Attempt to Distance Themselves from Hamas
             Operative Aljamal.
11
             58.      On June 8, 2024, after 246 days in Hamas’s captivity, Plaintiff, along with two
12
     other hostages, was rescued from Hamas Operative Aljamal’s home in a daring commando-
13
     style mission conducted by the IDF in conjunction with several international intelligence
14
     agencies. 45
15
             59.      Hamas Operative Aljamal was killed when he and his family attempted to
16
     violently resist IDF forces to prevent Plaintiff’s rescue.
17
             60.      Once Hamas Operative Aljamal’s name and identity appeared in the news,
18
     Defendants attempted to minimize their connection to Plaintiff’s captor.
19

20

21
     44
        Abdallah Aljamal, Smoke and Shrapnel – The Palestine Chronicle Interviews Survivors from Nuseirat School
22   Massacre, PALESTINE CHRONICLE (June 6, 2024), https://www.palestinechronicle.com/smoke-and-shrapnel-the-
     palestine-chronicle-interviews-survivors-from-nuseirat-school-massacre/.
     45
        Staff, After 8 Months of Captivity, Almog Meir Jan Rescued by IDF From Central Gaza, TIMES OF ISRAEL (June
23   8, 2024), https://www.timesofisrael.com/taken-captive-almog-meir-jan-21-cared-for-his-grandfather-before-the-
     rave/.

      COMPLAINT - 14
                   Case 2:24-cv-01005 Document 1 Filed 07/09/24 Page 15 of 38




 1              61.      For instance, at 6:45 a.m. on June 9, 2024, the Palestine Chronicle listed Hamas

 2   Operative Aljamal as a “correspondent for The Palestine Chronicle.” Exhibit B. Within hours,

 3   Defendants changed Hamas Operative Aljamal’s position to “contributor.” Exhibit C.

 4              62.      Defendants then released a statement referring to Hamas Operative Aljamal as

 5   a “freelance contributor” who wrote for the Palestine Chronicle “on a voluntary basis.” Exhibit

 6   D.

 7              63.      However, this statement fails to explain why, when Hamas Operative Aljamal

 8   interviewed sources for his propaganda pieces, Defendants took credit for his work, stating,

 9   “The Palestine Chronicle spoke to Palestinians on the ground.” 46

10              64.      Regardless of his employment status, it is indisputable that Defendants

11   provided Hamas Operative Aljamal, whose connections to Hamas were publicly known, with

12   a U.S.-based and taxpayer subsidized platform to publish Hamas propaganda and to pass the

13   material off as independent journalism.

14              65.      Moreover, the compensation Defendants paid Hamas Operative Aljamal for his

15   propaganda directly enabled him to imprison Plaintiff in his home.

16              66.      As a result of Defendants’ aiding, abetting, and materially supporting a known

17   Hamas operative and propagandist, Plaintiff suffered physical injuries, severe mental anguish,

18   and extreme emotional pain and suffering.

19

20

21

22

23
     46
          E.g., Aljamal, supra note 36 (emphasis added).

      COMPLAINT - 15
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 1                       V.    FIRST CLAIM FOR RELIEF:
              VIOLATION OF THE ALIEN TORT STATUTE, 28 U.S.C. § 1350 –
 2         AIDING AND ABETTING KIDNAPPING AND IMPRISONING CIVILIAN
                HOSTAGES IN VIOLATION OF THE “LAW OF NATIONS” –
 3                             Against All Defendants

 4            67.      Plaintiff realleges and reincorporates paragraphs 1–66 as if restated fully.

 5            68.      The Alien Tort Statute states that “[t]he district courts shall have original

 6   jurisdiction of any civil action by an alien for a tort only, committed in violation of the law of

 7   nations or a treaty of the United States.” 28 U.S.C. § 1350.

 8            69.      Plaintiff is an Israeli citizen and is therefore an alien under the Alien Tort

 9   Statute.

10            70.      International law universally prohibits kidnapping and imprisoning civilian

11   hostages. Article 34 of the Fourth Geneva Convention prohibits the taking of hostages.47

12   Additionally, the Rome Statute of the International Criminal Court (“Rome Statute”), an

13   international treaty adopted in 1998 and signed by 123 countries, states that the taking of

14   hostages is a war crime. 48

15            71.      Defendant’s activities also violated Article 2.1(b) of the International

16   Convention for the Suppression of the Financing of Terrorism which provides:

17                  Any person commits an offence within the meaning of this Convention
                    if that person by any means, directly or indirectly, unlawfully and
18                  willfully, provides or collects funds with the intention that they should
                    be used or in the knowledge that they are to be used, in full or in part, in
19                  order to carry out:

20                  An act which constitutes an offence within the scope of and as defined
                    in one of the treaties listed in the annex; or
21

22   47
        IV Geneva Convention Relative to the Protection of Civilian Persons in Time of War art. 34 (Aug. 12, 1949),
     available at https://www.un.org/en/genocideprevention/documents/atrocity-crimes/Doc.33_GC-IV-EN.pdf.
23   48
        Rome Statute of the International Criminal Court art. 8(2)(a)(viii) (July 17, 1998), available at https://www.icc-
     cpi.int/sites/default/files/2024-05/Rome-Statute-eng.pdf.

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 1                Any other act intended to cause death or serious bodily injury to a
                  civilian, or to any other person not taking an active part in the hostilities
 2                in a situation of armed conflict, when the purpose of such act, by its
                  nature or context, is to intimidate a population, or to compel a
 3                government or an international organization to do or to abstain from
                  doing any act.
 4
            72.       Moreover, “aiding and abetting liability is a norm of customary international
 5
     law with sufficient definition and universality to establish liability under the” Alien Tort
 6
     Statute. Doe v. Cisco Sys., 73 F.4th 700, 717 (9th Cir. 2023).
 7
            73.       Defendants knew or should have known that Hamas Operative Aljamal was a
 8
     Hamas operative and spokesperson.
 9
            74.       Yet, Defendants employed Hamas Operative Aljamal as a “journalist,”
10
     provided him with a U.S.-based and taxpayer subsidized platform to publish Hamas’s
11
     propaganda to a vast U.S.-based audience, and compensated Hamas Operative Aljamal for his
12
     propaganda.
13
            75.       Furthermore, Defendants knowingly provided Hamas Operative Aljamal with
14
     a “legitimate” title, thereby giving him cover to commit heinous acts.
15
            76.       By providing this support to Hamas Operative Aljamal, including compensating
16
     Hamas Operative Aljamal for his propaganda, Defendants aided and abetted Hamas Operative
17
     Aljamal in cooperating in the kidnapping of Plaintiff and imprisoning Plaintiff as a hostage in
18
     his home, in violation of international law.
19
            77.       As a result of Defendants’ aiding and abetting a known Hamas operative and
20
     propagandist, Plaintiff suffered physical injuries, severe mental anguish, and extreme
21
     emotional pain and suffering.
22

23


      COMPLAINT - 17
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 1                      VI.  SECOND CLAIM FOR RELIEF:
              VIOLATION OF THE ALIEN TORT STATUTE, 28 U.S.C. § 1350 –
 2        AIDING AND ABETTING TERRORISM IN VIOLATION OF THE “LAW OF
                                  NATIONS” –
 3                            Against All Defendants

 4             78.    Plaintiff realleges and reincorporates paragraphs 1–77 as if restated fully.

 5             79.    The Alien Tort Statute states that “[t]he district courts shall have original

 6   jurisdiction of any civil action by an alien for a tort only, committed in violation of the law of

 7   nations or a treaty of the United States.” 28 U.S.C. § 1350.

 8             80.    Plaintiff is an Israeli citizen and is therefore an alien under the Alien Tort

 9   Statute.

10             81.    International law universally prohibits acts of terrorism such as those Hamas

11   perpetrated on October 7. For example, since the Nuremberg trials and the aftermath of World

12   War II, it has been universally recognized that it is unacceptable to murder, rape, torture,

13   imprison, deport, enslave, or exterminate a civilian population. 49 The Nuremberg trials also

14   recognized that persecution based on political, racial or religious reasons violated international

15   law. 50

16             82.    Additionally, the Rome Statute prohibits certain crimes against humanity that

17   are committed against a civilian population in a systematic way, including murder,

18   extermination, enslavement, deportation or forcible transfer of population, torture, rape, and

19   persecution against an identifiable group. 51

20

21

22   49
            Nuremberg     Control     Council   Law   No.   10,   art.   II,   §   1(b)–(d),   available   at
     https://avalon.law.yale.edu/imt/imt10.asp.
23   50
        Id. § 1(c).
     51
        Rome Statute, supra note 48, at art. 7.

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 1           83.      International law likewise universally prohibits the material support of

 2   terrorism. Article 2.1(b) of the International Convention for the Suppression of the Financing

 3   of Terrorism prohibits any person from “by any means, directly or indirectly, unlawfully and

 4   willfully, provid[ing] or collect[ing] funds with the intention that they should be used or in the

 5   knowledge that they are to be used, in full or in part, in order to carry out” any “act intended

 6   to cause death or serious bodily injury to a civilian . . . when the purpose of such act, by its

 7   nature or context, is to intimidate a population, or to compel a government or an international

 8   organization to do or to abstain from doing any act.” 52 Over 130 countries, including the United

 9   States, have signed this Convention.

10           84.      Moreover, “aiding and abetting liability is a norm of customary international

11   law with sufficient definition and universality to establish liability under the” Alien Tort

12   Statute. Doe, 73 F.4th at 717.

13           85.      Defendants knew or should have known that Hamas Operative Aljamal was a

14   Hamas operative and spokesperson.

15           86.      Yet, Defendants employed Hamas Operative Aljamal as a “journalist,”

16   provided him with a U.S.-based and taxpayer subsidized platform to publish Hamas’s

17   propaganda to a vast U.S.-based audience, and compensated Hamas Operative Aljamal for his

18   propaganda.

19           87.      Furthermore, Defendants knowingly provided Hamas Operative Aljamal with

20   a “legitimate” title, thereby giving him cover to commit heinous acts.

21

22
     52
       International Convention for the Suppression of the Financing of Terrorism art. 2.1(b), Dec. 9, 1999, 2178
23   U.N.T.S. 197, available at https://treaties.un.org/pages/ViewDetails.aspx?src=TREATY&mtdsg_no=XVIII-
     11&chapter=18&clang=_en.

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 1          88.     By providing this support to Hamas Operative Aljamal, including compensating

 2   Hamas Operative Aljamal for his propaganda, Defendants aided and abetted Hamas’s acts of

 3   terrorism on October 7 and after, including its efforts to demonize Israel and exploit the

 4   international community’s response to the war in Gaza to sway public opinion in its favor, in

 5   violation of international law.

 6          89.     Additionally, by providing this support to Hamas Operative Aljamal, including

 7   compensating Hamas Operative Aljamal for his propaganda, Defendants materially supported

 8   Hamas, a designated foreign terrorist organization, in violation of international law.

 9          90.     As a result of Defendants’ aiding, abetting, and materially supporting a known

10   Hamas operative and propagandist, Plaintiff suffered physical injuries, severe mental anguish,

11   and extreme emotional pain and suffering.

12                                          Prayer for Relief

13          Accordingly, Plaintiff respectfully asks this Court to:

14          A.      Find that the acts and omissions herein stated existed;

15          B.      Declare Defendants violated the Alien Tort Statute, 28 U.S.C. § 1350 as set

16   forth in the First & Second Claims for Relief, supra;

17          C.      Enter judgment against Defendants and in favor of Plaintiff for compensatory

18   damages in amounts to be determined at trial;

19          D.      Award Plaintiff punitive damages in an amount sufficient to punish Defendants

20   and to deter similar conduct in the future;

21          E.      For pre and post-judgment interest where applicable in favor of Plaintiff;

22          F.      For an award of all of Plaintiff’s costs, expenses, and attorneys’ fees as

23   permitted by any agreement, statute or grounded in equity;


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 1        G.      Grant such other and further relief as justice and equity requires.

 2        DATED this 9th day of July 2024.
                                                     Respectfully submitted,
 3                                                   TOMLINSON BOMSZTYK RUSS

 4

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            Exhibit A
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            Exhibit B
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            Exhibit C
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            Exhibit D
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     Abdallah Aljamal (1987-2024) – Well-                                                                                                                         
     Known Journalist Murdered in Gaza                                                                                                 37084                      84494
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     Palestinian journalist Abdallah Aljamal. (Photo: supplied)


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     By Palestine Chronicle Staff


         The Palestine Chronicle is saddened to learn that Abdallah Aljamal,                                                   LATEST POSTS
         one of its contributors in the Gaza Strip, has been killed in the
         latest Israeli massacre in the Nuseirat refugee camp.                                                                                   ‘Fatal Strategic Decisions’ –
                                                                                                                                                 Gantz, Eisenkot Resign from
                                                                                                                                                 Israeli War Cabinet

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     Particularly tragic is that Aljamal’s last contribution to the Palestine Chronicle covered a
     previous massacre, which killed over 40 Palestinian civilians in an UNRWA school in the
     refugee camp.                                                                                                                               Abdallah Aljamal (1987-
                                                                                                                                                 2024) – Well-Known
                                                                                                                                                 Journalist Murdered in Gaza
     Israeli media is linking Aljamal’s family to the Israeli captives, claiming that Abdallah’s father,
     Dr. Ahmed, and other members of the family, were executed in the process of the bloody
     rescue mission.                                                                                                                             Israel Has Been Added To
                                                                                                                                                 The UN Blacklist – What
     Those claims have been refuted by respected commentators and journalists online, who                                                        Does It Mean?
     pointed in the inconsistencies in the official Israeli narrative.

     “The building where Abdallah lived was one of 7 homes reportedly raided by the IDF on June                                                  ‘Lost Moral Credibility’ – UN
     8. Hostages were held in only 2 of these buildings, not yet clear which,” Gazan writer and                                                  Official Slams Bias of
     analyst Muhammad Shehada wrote on X.                                                                                                        Countries Over Gaza
                                                                                                                                                 Genocide


                                                                                                                                                 Israeli Soldier Commits
                                                                                                                                                 Suicide after Receiving
                                                                                                                                                 Orders to Return to Gaza


                                                                                                                                                 Israeli Forces Detain 22
                                                                                                                                                 Palestinians, Youth Dies of
                                                                                                                                                 Injuries – West Bank Update


                                                                                                                                                 Details Emerge – Inside the
                                                                                                                                                 Three-Stage Plan for
                                                                                                                                                 Ceasefire Agreement


                                                                                                                                                 GAZA LIVE BLOG: Nuseirat
                                                                                                                                                 Massacre Death Toll Grows
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                    Muhammad Shehada                                                                                           247
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            Debunking the false claim that Abdallah Aljamal kept                                                                                 What are Hamas’ Options
         an Israeli hostage in his home:                                                                                                         after Gaza Massacre,
                                                                                                                                                 Freeing of Four Captives? –
                                                                                                                                                 Analysis
         1- Abdallah lived in an apartment in a multi-storey
         building. No connection was ever provided by the IDF
                                                                                                                                                 The Battle of Nuseirat –
         between him & the hostage.                                                                                                              Resistance Roundup – Day
                                                                                                                                                 246
         2- The building where Abdallah lived was one of 7
         homes… Show more

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     The tragic news of Aljamal’s family execution was conveyed through EuroMed Monitor, a
     Geneva-based rights organization.

     “In a preliminary investigation into the field executions by the Israeli army at the Nusseirat
     refugee camp yesterday, @EuroMedHR stated that soldiers used a ladder to break through
     the residence of Dr. Ahmed Al-Jamal,” the statement said.

     “Upon encountering 36-year-old Fatima Al-Jamal on the staircase, they immediately shot her
     dead. The troops then stormed the house and executed her husband, 36-year-old journalist
     Abdullah Al-Jamal, and his father, 74-year-old Dr. Ahmed Al-Jamal, in front of his
     grandchildren. Additionally, their 27-year-old daughter, Zainab, was shot and seriously
     injured,” it added.




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         This article from Yedioth Ahronoth @YediotAhronot
         exemplifies the Israeli media saturated with lies.

         -The article used my tweet, which talks about executions
         in the al-Jamal house, and distorted it to claim that the
         hostage Argamani was there, despite me never
         mentioning such a… Show more




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     The Israeli mission, which according to Axios and other news outlets, involved direct and
     indirect US and British support, resulted in the killing of 274 Palestinians and the wounding of
     hundreds more.

     “Abdallah Aljamal’s reports have focused entirely on the humanitarian situation in Gaza,
     especially in the central part of the Strip, starting shortly after the war,” The Palestine
     Chronicle said in a statement.

     “His contributions became frequent when Israel deliberately began killing journalists, making
     it nearly impossible for the Palestinian voice to break away from the Gaza siege,” it added.




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                                                                         "‫נועה ארגמני‬


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         The IDF now claims it was NOT Noa Argamani in the
         building where Abdallah lived but the 3 male hostages.

         This raises the likelihood that he didn’t know, b/c he lived
         on the 1st floor & the hostages were kept on the 3rd in an
         apartment building.

         Calling him a “Hamas operative”… Show more

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     Aljamal’s relationship with the Palestine Chronicle was that of a freelance contributor. He was
     neither a staff writer nor a contractor. Aljamal has contributed his services to the Palestine
     Chronicle on a voluntary basis.

     However, the value of his work was very important as one of the few journalists who kept the
     focus entirely on displaced Palestinian refugees, families of victims of the Israeli genocide, and
     other stories that were not being told by other journalists or media outlets.

     Abdallah’s daily reports were originally written and published in Arabic. The Palestine
     Chronicle translated and republished a selected number of these reports throughout the war.

     The Palestine Chronicle conveys its condolences to the people of Nuseirat and all the families
     of journalists murdered in Gaza throughout this genocidal war.

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     For more information about Abdallah Aljama’s translated and republished articles, click here.


     (The Palestine Chronicle)


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